                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

     SILVERCREEK MANAGEMENT INC.,                 )
     et al.,                                      )
                                                  )
                                Plaintiffs,       )
                                                  )
                V.                                )    02-cv-8881-JPO
                                                  )
     CITIGROUP, INC., et al.,                     )
                                                  )
                                Defendants.       )

                                  STIPULATION OF DISMISSAL

          Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), all remaining parties

to this action stipulate to the dismissal of the following claims asserted by Plaintiffs in their

Third Amended Complaint against defendants Jeffrey Skilling and Richard Causey, with

each party to bear its own costs and attorneys' fees: Count Four (Fraud and Deceit); Count

Five (Negligent Misrepresentation); and Count Ten (Violation of 1 O(b) of the Securities

Exchange Act and Rule 1 O(b )(5)).

DATED: March 12, 2019
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 March 12, 2019
